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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

    AMANDA PERKINS, HEATHER C.                )
    HOLST, TERRY J. WILLIAMS, TANYA )
    C. STANDIFER and KARLEY MAYHILL, )                 CIVIL ACTION NO.:
    individually and on behalf of all others  )
    similarly situated,                       )
                                              )
                                  Plaintiffs, )        3:21-CV-00973-X
                                              )
                    v.                        )
                                              )
    UNITED SURGICAL PARTNERS                  )
    INTERNATIONAL, INC. and THE               )
    RETIREMENT PLAN                           )
    ADMINISTRATION COMMITTEE OF               )
    UNITED SURGICAL PARTNERS                  )
    INTERNATIONAL, INC.                       )
                                              )
                                  Defendants. )
                                              )
                                              )
                                              )

                                FIRST AMENDED COMPLAINT

        Plaintiffs, Amanda Perkins, Heather C. Holst, Terry J. Williams, Tanya C. Standifer and

Karley Mayhill (“Plaintiffs”), by and through their attorneys, on behalf of the United Surgical

Partners International, Inc. 401(k) Plan (the “Plan”),1 themselves and all others similarly situated,

state and allege as follows:

                                    I.      INTRODUCTION




1
  The Plan is a legal entity that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. § 1132(d)(1).
However, in a breach of fiduciary duty action such as this, the Plan is not a party. Rather, pursuant
to ERISA § 409, and the law interpreting it, the relief requested in this action is for the benefit of
the Plan and its participants. In addition, in 2019 the name of the Plan changed from the United
Surgical Partners International Inc. 401(k) Plan to its current name, the Tenet Healthcare
Corporation 401(k) Retirement Savings Plan (“Tenet Plan”) with the Tenet Plan being the
surviving Plan. Both will be referred to collectively here as the Plan.
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       1.      This is a class action brought pursuant to §§ 409 and 502 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109 and 1132, against the

Plan’s fiduciaries, which include United Surgical Partners International, Inc. (“United Surgical”

or “Company”) and the Retirement Plan Administration Committee of United Surgical Partners

International, Inc. and its members during the Class Period2 (“Committee”) for breaches of their

fiduciary duties.3

       2.      To safeguard Plan participants and beneficiaries, ERISA imposes strict fiduciary

duties of loyalty and prudence upon employers and other plan fiduciaries. Fiduciaries must act

“solely in the interest of the participants and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the

“care, skill, prudence, and diligence” that would be expected in managing a plan of similar scope.

29 U.S.C. § 1104(a)(1)(B). These twin fiduciary duties are “the highest known to the law.” Kujanek

v. Houston Poly Bag I Ltd., 658 F.3d 483 at 489 (5th Circuit 2011), Martin on Behalf of Cal–Tex

Protective Coatings v. Frail, 2011 WL 13175089 at *14 (W.D. Tex. 2011), Main v. American

Airlines Inc., 248 F.Supp.3d 786 at 792 (N.D. Tex. 2017).

       3.      The Department of Labor has explicitly stated that employers are held to a “high

standard of care and diligence” and must, among other duties, both “establish a prudent process



2
The Class Period, as will be discussed in more detail below, is defined as April 30, 2015 through
December 31, 2018.
3
  In 2019, the Plan changed its name from the United Surgical Partners International, Inc. 401(k)
Plan to the Tenet Healthcare Corporation 401(k) Retirement Savings Plan (“Tenet Plan”), with the
Tenet Plan being the surviving Plan. This change reflects Tenet’s incremental acquisition of United
Surgical which began in 2015 with a 50.1% interest and which finally became a 95% ownership
interest in 2019. Based on Tenet’s ownership percentage of United Surgical throughout the Class
Period, United Surgical was and is currently a wholly owned subsidiary of Tenet. Accordingly,
the name of the Committee in 2020 is the Retirement Plan Administration Committee of Tenet
Healthcare (“RPAC”), however, the exact name of this Committee in 2018 and prior years is not
known but is generally referred to herein as the Retirement Plan Administration Committee of
United Surgical Partners International, Inc. but it may have had this or another similar name and a
similar function, as will be described in more detail below, during the Class Period and both will
be referred to herein as the Committee.
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for selecting investment options and service providers” and “monitor investment options and

service providers once selected to see that they continue to be appropriate choices.” See, “A Look

at 401(k) Plan Fees,” supra, at n.3; see also Tibble v. Edison Int’l, 135 S. Ct. 1823, 1823 (2015)

(Tibble I) (reaffirming the ongoing fiduciary duty to monitor a plan’s investment options).

       4.      Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must give substantial consideration

to the cost of investment options. “Wasting beneficiaries’ money is imprudent. In devising and

implementing strategies for the investment and management of trust assets, trustees are obligated

to minimize costs.” Uniform Prudent Investor Act (the “UPIA”), § 7.

       5.      “The Restatement … instructs that ‘cost-conscious management is fundamental to

prudence in the investment function,’ and should be applied ‘not only in making investments but

also in monitoring and reviewing investments.’” Tibble v. Edison Int’l, 843 F.3d 1187, 1197-98

(9th Cir. 2016) (en banc) (quoting Restatement (Third) of Trusts, § 90, cmt. b) (“Tibble II”).4

       6.      Additional fees of only 0.18% or 0.4% can have a large effect on a participant’s

investment results over time because “[b]eneficiaries subject to higher fees … lose not only money

spent on higher fees, but also lost investment opportunity; that is, the money that the portion of

their investment spent on unnecessary fees would have earned over time.” Tibble II, 843 F.3d at

1198 (“It is beyond dispute that the higher the fees charged to a beneficiary, the more the

beneficiary’s investment shrinks.”).

       7.      The Supreme Court recently reiterated that interpreting “ERISA’s duty of prudence

in light of the common law of trusts” a fiduciary “has a continuing duty of some kind to monitor

investments and remove imprudent ones” and a plaintiff may allege that a fiduciary breached the



4
  See also U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, (Aug. 2013), at 2, available at
https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
center/publications/a-look-at-401k-plan-fees.pdf (last visited February 16, 2021) (“You should be
aware that your employer also has a specific obligation to consider the fees and expenses paid by
your plan.”).
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duty of prudence by failing to properly monitor investments and remove imprudent ones. Hughes

v. Northwestern Univ., 2022 WL 19935, at *3 (2022).

       8.      Because cost-conscious management is fundamental to prudence in the investment

function, the concept applies to a fiduciary’s obligation to continuously monitor all fees incurred

by plan participants, including a plan’s recordkeeping and administration fees.

       9.      At all times during the Class Period (April 30, 2015 through December 31, 2018)

the Plan had at least 290 million dollars in assets under management. At the end of 2017 and 2018,

the Plan had over 455 million dollars in assets under management that were/are entrusted to the

care of the Plan’s fiduciaries.

       10.     The Plan’s assets under management qualifies it as a large plan in the defined

contribution plan marketplace, and among the largest plans in the United States. As a large plan,

the Plan had substantial bargaining power regarding the fees and expenses that were charged

against participants’ investments. Defendants, however, did not try to reduce the Plan’s expenses

or exercise appropriate judgment to scrutinize each investment option that was offered in the Plan

to ensure it was prudent.

       11.     Plaintiffs allege that during the putative Class Period Defendants, as “fiduciaries”

of the Plan, as that term is defined under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), breached

the duties they owed to the Plan, to Plaintiffs, and to the other participants of the Plan by, inter

alia, (1) failing to objectively and adequately review the Plan’s investment portfolio with due care

to ensure that each investment option was prudent, in terms of cost; and (2) maintaining certain

funds in the Plan despite the availability of identical or similar investment options with lower costs

and/or better performance histories; and (3) failing to control the Plan’s recordkeeping and

administrative (“RKA”) costs.




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       12.      Defendants’ mismanagement of the Plan, to the detriment of participants and

beneficiaries, constitutes a breach of the fiduciary duty of prudence in violation of 29 U.S.C. §

1104. Their actions were contrary to actions of a reasonable fiduciary and cost the Plan and its

participants millions of dollars.

       13.     Based on this conduct, Plaintiffs assert claims against Defendants for breach of the

fiduciary duty of prudence (Count One) and failure to monitor fiduciaries (Count Two).

                             II.    JURISDICTION AND VENUE

       14.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it is a civil action arising under the laws of the United States, and pursuant to 29

U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of

ERISA, 29 U.S.C. § 1001, et seq.

       15.     This Court has personal jurisdiction over Defendants because they transact business

in this District, reside in this District, and/or have significant contacts with this District, and

because ERISA provides for nationwide service of process.

       16.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

Defendants reside and may be found in this District. Venue is also proper in this District pursuant

to 28 U.S.C. § 1391 because Defendants do business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.

                                        III.    PARTIES

       Plaintiffs

       17.     Plaintiff, Amanda Perkins (“Perkins”), resides in St. Peter, Missouri. During her

employment, Plaintiff Perkins participated in the Plan investing in the options offered by the Plan

and which are the subject of this lawsuit and was subject to excessive RKA costs. As alleged


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below, all the funds in the Plan during the Class Period paid revenue sharing which was in turn

used to pay for the excessive RKA costs. Accordingly, Plaintiff Perkins suffered injury to her Plan

account by overpaying for her share of RKA costs.

       18.     Plaintiff, Heather C. Holst (“Holst”), resides in Riverview, Florida. During her

employment, Plaintiff Holst participated in the Plan investing in the options offered by the Plan

and which are the subject of this lawsuit and was subject to excessive RKA costs. Plaintiff Holst

invested in the T Rowe Price Retirement 2040 Fund ADV target date fund during the Class Period,

but upon information and belief the assets in this fund was mapped in 2020 to the 2040 target date

fund when the T Rowe Price fund was removed. As alleged below, all the funds in the Plan during

the Class Period paid revenue sharing which was in turn used to pay for the excessive RKA costs.

Accordingly, Plaintiff Holst suffered injury to her Plan account by overpaying for her share of

RKA costs.

       19.      Plaintiff, Terry J. Williams (“Williams”), resides in Garland, Texas. During his

employment, Plaintiff Williams participated in the Plan investing in the options offered by the Plan

and which are the subject of this lawsuit and was subject to excessive RKA costs. Plaintiff

Williams specifically invested in the funds referenced in this Complaint, namely, but not limited

to, the PIMCO Total Return Fund, Invesco Comstock Y, State St S&P 500 Indx Sec Lending VII,

Fidelity Blue Chip Growth, Victory Sycamore Established Value I, Principal MidCap RS,

JPMorgan Small Cap Growth I and Invesco Oppenheimer International Gr Y. As alleged below,

all the funds in the Plan during the Class Period paid revenue sharing which was in turn used to

pay for the excessive RKA costs. Accordingly, Plaintiff Williams suffered injury to his Plan

account by overpaying for his share of RKA costs.

       20.     Plaintiff, Tanya C. Standifer (“Standifer”), resides in Sandy Spring, Georgia.

During her employment, Plaintiff Standifer participated in the Plan investing in the options offered


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by the Plan and which are the subject of this lawsuit and was subject to excessive RKA costs.

Plaintiff Standifer specifically invested in the funds referenced in this Complaint, namely, but not

limited to, the T Rowe Price Retirement 2040 Fund ADV, Invesco Comstock Y, State St S&P 500

Indx Sec Lending VII and JPMorgan Small Cap Growth I. As alleged below, all the funds in the

Plan during the Class Period paid revenue sharing which was in turn used to pay for the excessive

RKA costs. Accordingly, Plaintiff Standifer suffered injury to her Plan account by overpaying for

her share of RKA costs.

       21.     Plaintiff, Karley Mayhill (“Mayhill”), resides in Edwardsville, Illinois. During her

employment, Plaintiff Mayhill participated in the Plan investing in the options offered by the Plan

and which are the subject of this lawsuit and was subject to excessive RKA costs. Plaintiff Mayhill

invested in the State St S&P 500 Indx Sec Lending VII fund during the Class Period but the assets

in this fund were mapped to the S&P 500 Index fund in 2020 when the State Street fund was

removed from the Plan. As alleged below, all the funds in the Plan during the Class Period paid

revenue sharing which was in turn used to pay for the excessive RKA costs. Accordingly, Plaintiff

Mayhill suffered injury to her Plan account by overpaying for her share of RKA costs.

       22.     Each Plaintiff has standing to bring this action on behalf of the Plan because each

of them participated in the Plan and were injured by Defendants’ unlawful conduct. Plaintiffs are

entitled to receive benefits in the amount of the difference between the value of their accounts

during the Class Period, or as of the time their accounts were distributed, and what their accounts

are or would have been worth, but for Defendants’ breaches of fiduciary duty as described herein.

       23.     Plaintiffs did not have knowledge of all material facts (including, among other

things, the investment alternatives that are comparable to the investments offered within the Plan,

comparisons of the costs and investment performance of Plan investments versus available

alternatives within similarly-sized plans, total cost comparisons to similarly-sized plans,


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information regarding other available identical funds, and information regarding the availability

and pricing of collective trusts) necessary to understand that Defendants breached their fiduciary

duties and engaged in other unlawful conduct in violation of ERISA until shortly before this suit

was filed.

         Defendants

                 Company Defendant

         24.     United Surgical was the Plan sponsor and a named fiduciary during the Class Period

which had a principal place of business during the Class Period as 15305 Dallas Parkway, Suite

1600, Addison, TX 75001. It’s address for service of process is currently that of the Tenet

Healthcare Corporation (“Tenet”) because United is a wholly owned subsidiary of Tenet. The

December 31, 2020 Form 10-K of the Tenet Healthcare Corporation (“Tenet Annual Report”) at

Page 30 of Exhibit 21. Tenet’s address for service of process, as the Plan Administrator, is 14201

Dallas Parkway, Dallas, Texas 75254. The December 31, 2019 Form 5500 of the Tenet Healthcare

Corporation 401(k) Retirement Savings Plan filed with the United States Department of Labor

(“2019 Form 5500”) at 1.

         25.     United Surgical describes itself as “the largest ambulatory surgery platform in the

country.5” United Surgical currently employs more than 21,000 employees in 30 States across the

Country. Id.

         26.     United Surgical appointed the Committee to, among other things, ensure that the

investments available to Plan participants are appropriate, had no more expense than reasonable

and performed well as compared to their peers. The Summary Plan Description of the Tenet

Healthcare Corporation 401(k) Retirement Savings Plan dated January 1, 2020 (“SPD”) at 26 and




5
    https://www.uspi.com/about-us.aspx last accessed on April 5, 2021.
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43. Under ERISA, fiduciaries with the power to appoint have the concomitant fiduciary duty to

monitor and supervise their appointees.

       27.     Accordingly, the Company had a concomitant fiduciary duty to monitor and

supervise those appointees.

       28.     Accordingly, United Surgical during the putative Class Period is/was a fiduciary of

the Plan, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because it

exercised discretionary authority to appoint and/or monitor the other fiduciaries, which had control

over Plan management and/or authority or control over management or disposition of Plan assets.

               Committee Defendants

       29.     The Committee ensures that the investments available to Plan participants are

appropriate, had no more expense than reasonable and performed well as compared to their peers.

       30.     The Committee and each of its members were fiduciaries of the Plan during the

Class Period, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because

each exercised discretionary authority over management or disposition of Plan assets.

       31.     The Committee and unnamed members of the Committee during the Class Period

are collectively referred to herein as the “Committee Defendants.”

                       IV.     CLASS ACTION ALLEGATIONS

       32.     Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of themselves and the following proposed class (“Class”):6

               All persons, except Defendants and their immediate family
               members, who were participants in or beneficiaries of the
               Plan, at any time between April 30, 2015 through December
               31, 2018 (the “Class Period”).




6
  Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion for
class certification or subsequent pleadings in this action.
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       33.     The members of the Class are so numerous that joinder of all members is

impractical. The 2018 Form 5500 lists 16,605 Plan “participants with account balances as of the

end of the plan year.” 2018 Form 5500 at 2.

       34.     Plaintiffs’ claims are typical of the claims of the members of the Class. Like other

Class members, Plaintiffs participated in the Plan and have suffered injuries as a result of

Defendants’ mismanagement of the Plan. Defendants treated Plaintiffs consistently with other

Class members and managed the Plan as a single entity. Plaintiffs’ claims and the claims of all

Class members arise out of the same conduct, policies, and practices of Defendants as alleged

herein, and all members of the Class have been similarly affected by Defendants’ wrongful

conduct.

       35.     There are questions of law and fact common to the Class, and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:

               A.      Whether Defendants are/were fiduciaries of the Plan;

               B.      Whether Defendants breached their fiduciary duty of prudence by

                       engaging in the conduct described herein;

               C.      Whether the Defendants responsible for appointing other

                       fiduciaries failed to adequately monitor their appointees to ensure

                       the Plan was being managed in compliance with ERISA;

               D.      The proper form of equitable and injunctive relief; and

               E.      The proper measure of monetary relief.

       36.     Plaintiffs will fairly and adequately represent the Class and have retained counsel

experienced and competent in the prosecution of ERISA class action litigation. Plaintiffs have no

interests antagonistic to those of other members of the Class. Plaintiffs are committed to the


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vigorous prosecution of this action and anticipate no difficulty in the management of this litigation

as a class action.

        37.     This action may be properly certified under Rule 23(b)(1). Class action status in

this action is warranted under Rule 23(b)(1)(A) because prosecution of separate actions by the

members of the Class would create a risk of establishing incompatible standards of conduct for

Defendants. Class action status is also warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of

other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

        38.     In the alternative, certification under Rule 23(b)(2) is warranted because the

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

to the Class as a whole.

                                        V.     THE PLAN

        39.     The Plan was established Effective February 1, 1999. The December 31, 2018

Report of the Independent Auditor for the United Surgical Partners International, Inc. 401(k) Plan

(“2018 Auditor Report”) at 5. As further described in the 2018 Auditor Report: “United Surgical

Partners International, Inc. (the Company) established the Plan to provide benefits to employees

of the Company.” Id. In 2019 the Plan changed it’s name to the Tenet Healthcare Corporation

401(k) Retirement Savings Plan (“Tenet Plan”) to reflect Tenet’s more than 95% ownership of

United Surgical by 2019. The Tenet Healthcare Corporation 401(k) Retirement Savings Plan as

Amended and Restated Effective January 1, 2020 (“Plan Doc”) at 9. However, the Class Period




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relates only to the time period when the Plan remained under the United Surgical name from 2015

to the end of 2018.

       40.     The Plan is a “defined contribution” or “individual account” plan within the

meaning of ERISA § 3(34), 29 U.S.C. § 1002(34), in that the Plan provides for individual accounts

for each participant and for benefits based solely upon the amount contributed to those accounts,

and any income, expense, gains and losses, and any forfeitures of accounts of the participants

which may be allocated to such participant’s account. 2018 Auditor Report at 5. Consequently,

retirement benefits provided by the Plan are based solely on the amounts allocated to each

individual’s account. Id.

       Eligibility

       41.     In general, regular full-time employees are eligible to participate in the Plan. 2018

Auditor Report at 5.

       Contributions

       42.     There are several types of contributions that can be added to a participant’s account,

including: an employee salary deferral contribution, an employee Roth 401(k) contribution, an

employee after-tax contribution, catch-up contributions for employees aged 50 and over, rollover

contributions, discretionary profit sharing contributions and employer matching contributions

based on employee pre-tax, Roth 401(k), and employee after-tax contributions. Id.

       43.     With regard to employee contributions, “participants could contribute up to 50% of

pretax annual compensation, as defined in the Plan document.” Id. United Surgical could have

decided to make matching contributions to the Plan on behalf of their employees. As detailed in

the 2018 Auditor Report: “[t]he Company could elect to make discretionary matching

contributions to the Plan. The Company matched 50% of employee contributions, of each

participant’s contribution on the first 6% of eligible compensation deferred to the Plan.” Id.


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         44.      Like other companies that sponsor 401(k) plans for their employees, United

Surgical enjoys both direct and indirect benefits by providing matching contributions to Plan

participants. Employers are generally permitted to take tax deductions for their contributions to

401(k)    plans     at   the   time    when    the        contributions   are   made.   See    generally,

https:/www.irs.gov/retirement-plans/plan-sponsor/401k-plan-overview.

         45.      United Surgical and its clients also benefit in other ways from the Plan’s matching

program. It is well-known that “[o]ffering retirement plans can help in employers’ efforts to attract

new employees and reduce turnover.” See, https://www.paychex.com/articles/employee-

benefits/employer-matching-401k-benefits.

         46.      Given the size of the Plan, United Surgical likely enjoyed a significant tax and cost

savings from offering a match.

         Vesting

         47.      Participants are immediately vested in their own contributions made to the Plan.

2018 Auditor Report at 6. With regard to contributions made by United Surgical, participants are

subject to a four year vesting schedule before those contributions are considered earned. Id.

         The Plan’s Investments

         48.      In theory, the Committee responsibilities include selection and monitoring of the

funds available for investment in the Plan. However, the Committee must carry out this fiduciary

responsibility for the exclusive benefit of the plan participants and beneficiaries. But in practice,

as alleged below, that is not what happened.

         49.      Several funds were available to Plan participants for investment each year during

the putative Class Period. Specifically, a participant may direct all contributions to selected

investments as made available and determined by the Committee. SPD at 26 and 43.




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        50.     The Plan’s assets under management for all funds as of December 31, 2018 was

$455,880,455. 2018 Auditor Report at 3.

        Payment of Plan Expenses

        51.     During the Class Period, administrative expenses were paid for using Plan assets.

As described in the 2018 Auditor Report: “[p]articipant accounts were charged with an allocation

of administrative expenses that were paid by the Plan.” 2018 Auditor Report at 5.

 VI.     THE PLAN’S FEES DURING THE CLASS PERIOD WERE UNREASONABLE

        52.     As described in the “Parties” section above, Defendants were fiduciaries of the

Plan.

        53.     ERISA “imposes a ‘prudent person’ standard by which to measure fiduciaries’

investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct.

2459, 2467 (2014) (quotation omitted). In addition to a duty to select prudent investments, under

ERISA a fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent

ones” that exists “separate and apart from the [fiduciary’s] duty to exercise prudence in selecting

investments.” Tibble I, 135 S. Ct. at 1828; see also Hughes, 2022 WL 19935, at *3.

        54.     Defendants’ breaches of their fiduciary duties, relating to their overall decision-

making, resulted in the selection (and maintenance) of several funds in the Plan throughout the

Class Period that wasted the assets of the Plan and the assets of participants because of unnecessary

costs. Defendants also failed to monitor and curtail the unreasonable RKA costs incurred by the

Plan.

  A.     The Totality of Circumstances Demonstrate that the Plan Fiduciaries Failed to
         Administer the Plan in a Prudent Manner

          (1)     The Plan’s Total Plan Costs Were the Highest in its Peer Group

        55.     “Many types of services are required to operate a [defined contribution] plan,

including administrative services (e.g., recordkeeping and transaction processing), participant-

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focused services (e.g., participant communication, education, or advice), regulatory and

compliance services (e.g., plan document services; consulting, accounting, and audit services; and

legal advice), and investment management.” 7

       56.     “In order to better understand the impact of fees,” BrightScope, a leading plan

retirement industry analyst, “developed a total plan cost measure that includes all fees on the

audited Form 5500 reports as well as fees paid through investment expense ratios.” The

Brightscope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2017 (“ICI

Study”) at 55 available at https://www.ici.org/pdf/20_ppr_dcplan_profile_401k.pdf.

       57.     Costs are, of course, important because “[t]he lower your costs, the greater your

share of an investment’s return.” Vanguard’s Principles for Investing Success, at 17.8

       58.     One indication that the Plan was poorly run is its dismal ranking among peers when

comparing total plan costs. As of 2018, the Plan was ranked by BrightScope as having one of the

highest overall plan costs of any Plan with between 100 million and 500 million dollars in assets

under management. In fact, BrightScope finds that the average participant would have to work an

additional 17 years and will have lost at least $84,000 as a result of the Plan’s high costs. See

https://www.brightscope.com/401k-rating/356165/United-Surgical-Partners-International-

Inc/361092/United-Surgical-Partnersn-International-Inc-401K-Plan

       59.       According to the ICI Study, the median total plan cost for a plan between 250

million dollars and 500 million dollars is 0.43% of total assets in a plan. ICI Study at 57. Here,

the total Plan costs during the Class Period ranged from a high of 0.82% in 2018 to a low of 0.79%

in 2016. There’s little question the Plan was paying at least 83% more in total plan costs than its


7
 See BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2017 at
55 (August 2020) (hereafter, “ICI Study”) available at
https://www.ici.org/pdf/20_ppr_dcplan_profile_401k.pdf
8
 Available at https://about.vanguard.com/what-sets-vanguard-apart/principles-for-investing-
success
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peers. These excessive costs should have been addressed by the Defendants during the Class

Period, but, again, this is something the Defendants failed to do to the great detriment of Plan

participants.

                (2)   The Plan’s Recordkeeping and Administrative Costs Were Excessive
                      During the Class Period

       60.       Another indication of Defendants’ imprudent process was the excessive RKA fees

Plan participants were required to pay to the Plan’s recordkeeper, ADP, during the Class Period.

       61.       Long-standing DOL guidance explicitly states that employers are held to a “high

standard of care and diligence” and must, among other duties, both “establish a prudent process

for selecting … service providers” and “monitor … service providers once selected to see that they

continue to be appropriate choices.” See, “A Look at 401(k) Plan Fees,” supra, at n.3.

       62.       The Restatement of Trusts also puts cost-conscious management above all else

while administering a retirement plan. Tibble, 843 F.3d at 1197-98.

       63.       RKA (recording keeping and administration as explained above) refers to the suite

of administrative services typically provided to a defined contribution plan by the plan’s

“recordkeeper.” As noted above, ADP was the Plan’s recordkeeper.

       64.       There are two types of essential recordkeeping services provided by all national

recordkeepers for large plans with substantial bargaining power (like the Plan). First, an overall

suite of recordkeeping services is provided to large plans as part of a “bundled” fee for a buffet

style level of service (meaning that the services are provided, in retirement industry parlance, on

an “all-you-can-eat” basis), including, but not limited to, the following services:

             A. Recordkeeping;

             B. Transaction processing (which includes the technology to process purchases and

                 sales of participants’ assets, as well as providing the participants access to

                 investment options selected by the plan sponsor);

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             C. Administrative services related to converting a plan from one recordkeeper to

                another;

             D. Participant communications (including employee meetings, call centers/phone

                support, voice response systems, web account access, and the preparation of other

                materials distributed to participants, e.g., summary plan descriptions);

             E. Maintenance of an employer stock fund (if needed);

             F. Plan document services, which include updates to standard plan documents to

                ensure compliance with new regulatory and legal requirements;

             G. Plan consulting services, including assistance in selecting the investment lineup

                offered to participants;

             H. Accounting and audit services, including the preparation of annual reports, e.g.,

                Form 5500s9 (excluding the separate fee charged by an independent third-party

                auditor);

             I. Compliance support, including assistance interpreting plan provisions and ensuring

                the operation of the plan is in compliance with legal requirements and the

                provisions of the plan (excluding separate legal services provided by a third-party

                law firm); and

             J. Compliance testing to ensure the plan complies with U.S. Internal Revenue Service

                nondiscrimination rules.

       65.      This suite of essential recordkeeping services can be referred to as “Bundled”

services. These services are offered by all recordkeepers for one price (typically at a per capita




9
The Form 5500 is the annual report that 401(k) plans are required to file with the DOL and U.S.
Department of Treasury pursuant to the reporting requirements of ERISA.
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price), regardless of the services chosen or utilized by the plan. The services chosen by a large

plan do not affect the amount charged by recordkeepers for such basic and fungible services.

       66.      The second type of essential recordkeeping services, hereafter referred to as “A La

Carte” services, provided by all national recordkeepers, often has separate, additional fees based

on the conduct of individual participants and the usage of the services by individual participants.

These fees are distinct from the bundled arrangement described above to ensure that one participant

is not forced to help another cover the cost of, for example, taking a loan from their plan account

balance. These A La Carte services typically include, but are not limited to, the following:

             A. Loan processing;

             B. Brokerage services/account maintenance (if offered by the plan);

             C. Distribution services; and

             D. Processing of qualified domestic relations orders.

       67.      All national recordkeepers have the capability to provide all of the aforementioned

recordkeeping services at very little cost to all large defined contribution plans, including those

much smaller than the Plan. In fact, several of the services, such as managed account services,

self-directed brokerage, Qualified Domestic Relations Order processing, and loan processing are

often a profit center for recordkeepers.

       68.      ADP provided services in line with the routine bundled and A La Carte service

categories described above. The RKA services performed each year during the Class Period were

similar so we can look at the Plan’s 2018 Form 5500, Schedule C as an example. The Schedule C

lists the following codes indicating the type of general services performed by the recordkeeper:

37, 15, and 64. The codes mean the following:

                37 – Participant loan processing




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                   15 – Recordkeeping and information management (computing, tabulating, data

                   processing, etc.)

                   64 – Recordkeeping fees

See     Instructions        for   Schedule      C     (Form    5500)      available   at   https://www.

dol.gov/sites/dolgov/files/EBSA/employers-and-advisers/plan-administration-and-compliance/

reporting-and-filing/form-5500/2019-instructions.pdf.

         69.       Again, the above services are not out of the ordinary of the services other national

recordkeepers provide. And as noted earlier participant loan processing is a service that can be

provided for next to nothing.

         70.       The cost of providing recordkeeping services often depends on the number of

participants in a plan. Plans with large numbers of participants can take advantage of economies

of scale by negotiating a lower per-participant recordkeeping fee.               Because recordkeeping

expenses are driven by the number of participants in a plan, the vast majority of plans are charged

on a per-participant basis.

         71.       Recordkeeping expenses can either be paid directly from plan assets, or indirectly

by the plan’s investments in a practice known as revenue sharing (or a combination of both or by

a plan sponsor). Revenue sharing payments are payments made by investments within the plan,

typically mutual funds, to the plan’s recordkeeper or to the plan directly, to compensate for

recordkeeping and trustee services that the mutual fund company otherwise would have to provide.

         72.       During the Class Period all the Plan’s funds paid revenue sharing to the Plan’s

recordkeeper. Looking at 2018 as a representative sample of the entire Class Period, revenue

sharing was paid as follows:



 PIMCO Total Return Fund               $ 23,436,438
                                                                  0.10%
 Franklin Rising Dividend               11,637,069
 Advisor Class                                                    0.25%
                                                       19
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 Victory Established Value I          15,999,513
                                                               0.10%
 Deutsch Small Cap Core                9,499,673
 Fund – S                                                      0.45%
 Hartford Mid-Cap Y                   17,634,303
                                                               0.10%
 Oppenheimer International            17,758,437
 Growth – Y                                                    0.25%
 JP Morgan Small Cap                  18,722,383
 Growth – Class SE                                             0.35%
 BlackRock Global                      6,632,271
 Allocation Fund, Inc. –
 Class A                                                       0.25%
 Fidelity Blue Chip Growth            36,190,864
 Fund                                                          0.25%
 T. Rowe Price Retirement              7,154,034
 Income Fund – Advisor
 Class
                                                               0.15%
  T. Rowe Price Retirement             5,026,186
       Income 2010 Fund –
             Advisor Class
                                                               0.15%
  T. Rowe Price Retirement            36,281,816
       Income 2020 Fund –
             Advisor Class
                                                               0.15%
  T. Rowe Price Retirement            54,265,870
       Income 2030 Fund –
             Advisor Class
                                                               0.15%
  T. Rowe Price Retirement            43,177,251
       Income 2040 Fund –
             Advisor Class
                                                               0.15%
  T. Rowe Price Retirement            29,574,060
       Income 2050 Fund –
             Advisor Class
                                                               0.15%
  T. Rowe Price Retirement             1,274,704
       Income 2060 Fund –
             Advisor Class
                                                               0.15%
 Principal Midcap R5                  12,950,524
                                                               0.35%
 INVESCO Comstock Fund                17,340,265
 – Class Y                                                     0.25%

 INVESCO Stable Asset                 35,333,449
 Fund                                                          0.20%
 *    SSgA S&P 500 Fund               30,198,608
 Index VII 0.21%                                               0.11%
 *    SSgA RUSS SC IDX                 5,221,837
 VI ER-0.51%                                                   0.30%
 *    SSgA S&P MD CP                   3,769,265
 IDX NL G 0.46%                                                0.12%
 *    SSgA S&P US BD                   4,843,117
 IDX SL VII 0.46%                                              0.18%


         73.       Although utilizing a revenue sharing approach is not per se imprudent, unchecked,

it is devastating for Plan participants. “At worst, revenue sharing is a way to hide fees. Nobody

sees the money change hands, and very few understand what the total investment expense pays

for. It’s a way to milk large sums of money out of large plans by charging a percentage-based fee
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that never goes down (when plans are ignored or taken advantage of). In some cases, employers

and employees believe the plan is ‘free’ when it is in fact expensive.” Justin Pritchard, “Revenue

Sharing and Invisible Fees” available at            http://www.cccandc.com/p/revenue-sharing-and-

invisible-fees (last visited March 19, 2020).

         74.     In this matter, using revenue sharing to pay for RKA resulted in a worst-case

scenario for the Plan’s participants because it saddled Plan participants with above-market RKA

fees.

         75.     As demonstrated in the chart below, the Plan’s per participant RKA fees were as

follows:

          Year     Participants    Direct Costs         Indirect Costs       Total        $PP
          2018        16605         $328,716              $1,304,352       $1,633,068    $98.35
          2017        15629          $84,043              $1,240,948       $1,324,991    $84.78
          2016        14663          $66,822               $978,413        $1,045,235    $71.28
          2015        11855          $57,491               $844,504         $901,995     $76.09

         76.     These amounts were grossly above market rates when benchmarked against similar

plans. By way of comparison, we can look at what other similar plans paid for RKA fees during

the same time period.

         77.     The Plan had over 15,000 participants making it eligible for some of the lowest fees

on the market.

         78.     NEPC, a consulting group, which recently conducted its 14th Annual Survey titled

the NEPC 2019 Defined Contribution Progress Report, which took a survey of various defined

contribution plan fees.10 The sample size and respondents included 121 Defined Contribution

Plans broken up as follows: 71% Corporate; 20% Healthcare, and 9% Public, Not-for-Profit and

other. The average plan had $1.1 billion in assets and 12,437 participants. The median plan had

$512 million in assets and 5,440 participants. See, Report at 1.


10
     Available at https://www.nepc.com/insights/2019-dc-plan-and-fee-survey.
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        79.     NEPC’s survey found that no plan with over 15,000 participants paid more than

$69 per participant in recordkeeping, trust and custody costs (RKA) fees. Report at 10. However,

only 5% of the Plans surveyed paid $69 which is a maximum paid by any Plan with over 15,000

participants and itself should be considered high. Id. The average plan paid no more than $40 in

RKA fees. Id. The Plan’s failure to control these fees has cost the plan participants millions of

dollars in lost savings.

        80.     We can also look at what competitor plans paid for the same basket of services.

Based upon publicly available information available to Defendants at all relevant times, it was

possible for the Plan to negotiate materially lower RKA fees. The table below summarizes the

RKA fees paid by plans of similar size and assets under management, and illustrates that the RKA

fees paid by the Plan were materially higher in comparison.




                                               22
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                              Comparable Plans’ RKA Fees Paid in 201911
                                                                                   RKA
                                                                                 Costs on
                                  Number of                          Total          Per-
                                  Participant    Assets Under        RKA        Participan    Recordkeepe
           Plan Name                   s         Management         Costs12       t Basis          r
Optumcare Management, LLC           10,072        $843,224,007      $223,361        $22         Fidelity
401(k) Retirement Savings Plan
Pacific Architects and               14,698       $435,391,716      $344,477       $23          Fidelity
Engineers, LLC 401(k) Savings
Plan
FedEx Office and Print               18,674       $939,399,569      $458,770       $25         Vanguard
Services, Inc. 401(k)
Retirement Savings Plan
Sutter Health Retirement             12,205       $515,927,887      $375,153       $31          Fidelity
Income Plan
Penn State Health 401(k)             15,020       $1,646,231,45     $519,693       $35        Great-West
Savings Plan                                                  6
First American Financial             15,246       $1,791,281,39     $529,171       $35          Fidelity
Corporation 401(K) Savings                                    6
Plan
Michelin 401(k) Savings Plan         16,335       $2,817,613,55     $581,292       $36         Vanguard
                                                              8
The Tax Sheltered Annuity Plan       14,676       $1,271,086,31     $547,910       $37          Fidelity
of Texas Children’s Hospital                                  1
Fortive Retirement Savings           14,375       $1,885,682,19     $552,129       $38          Fidelity
Plan                                                          0

            81.    Since at least the mid-2000s, the fees that RKA service providers are willing to

     accept for providing recordkeeping and administrative services has decreased steadily.

            82.    The underlying costs to a recordkeeper of providing RKA services to a plan are

     primarily dependent upon the number of participant accounts in the plan rather than the value of

     assets under management in the plan.


     11
      Calculations are based on Form 5500 information filed by the respective plans for fiscal 2019,
     which is close in proximity to 2018, the exemplar year used to analyze the Plan’s fees.
     12
       RKA costs in the chart are derived from Schedule C of the Form 5500s and reflect fees paid to
     service providers with a service code of “15” and/or “64,” which signifies recordkeeping fees as
     noted above. These fees do not necessarily include participant loan processing, but as explained
     above, fees for those services are negligible. Certainly, they would not account for double the
     amount of the other services.

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       83.     Recordkeepers for larger defined contribution plans like the Plan experience certain

efficiencies of scale that lead to a reduction in the per-participant cost as the number of participants

increases. This is because the marginal cost of adding an additional participant to a recordkeeping

platform is relatively low. These economies of scale are inherent in all recordkeeping arrangements

for defined contribution plans.

       84.     When the number of participants with an account balance increases in a defined

contribution plan, the recordkeeper is able to spread the cost of providing recordkeeping services

over a larger participant base, thereby reducing the unit cost of delivering services on a per-

participant basis.

       85.     A plan with more participants can and will receive a lower per-participant fee

relative to a smaller plan. This is well known among retirement plan professionals, including RKA

service providers and 401(k) administrators.

       86.     Prudent plan fiduciaries ensure that they are paying only reasonable fees for RKA

services by soliciting competitive bids – i.e., a request for proposal (“RFP”) – from other

recordkeepers to perform the same services being provided to the plan. This is not a complex

process and is performed regularly by prudent plan fiduciaries. Fiduciaries commonly request

periodic competitive bids from other service providers so they can determine if the current level

of fees being charged for RKA services is reasonable.

       87.     The most effective way to determine the true market price at any given time is to

obtain competitive quotes through this bidding process. See George v. Kraft Foods Glob., Inc.,

641 F.3d 786, 800 (7th Cir. 2011) (failure to solicit bids, and paying higher-than-market

recordkeeping fees, supported triable breach of fiduciary duty claim).

       88.     By soliciting bids from other providers, prudent plan fiduciaries can quickly and

easily gain an understanding of the current market for similar RKA services.


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       89.      By going through an RFP process every few years, prudent plan fiduciaries can

review the level of service provided by the current recordkeeper and compare the fees to those

being offered by other reputable recordkeepers. The bidding process can also give plan fiduciaries

leverage to negotiate lower fees with their current RKA provider should they prefer to stay with

their existing provider.

       90.      Fiduciary best practices, based on Department of Labor guidelines and marketplace

experience, were known or should have been known by Defendants. Prudent fiduciaries should

implement the following three related processes, among others, to reasonably manage and control

a plan’s recordkeeping and administrative costs. See Tussey v. ABB, Inc., 746 F.3d 327, 336 (8th

Cir. 2014) (holding that 401(k) plan administrators breach their fiduciary duties when they “fail[]

to monitor and control recordkeeping fees”); Kraft Foods, 641 F.3d at 800 (explaining that defined

contribution plan fiduciaries have a “duty to ensure that [the recordkeeper’s] fees [are]

reasonable”).

       91.      First, a plan fiduciary must pay close attention to the recordkeeping fees being paid

by the plan relative to the services provided. A prudent fiduciary closely tracks fee payment levels

and the level of services being provided in exchange for the fees.

       92.      Second, to make an informed evaluation as to whether a service provider is

receiving no more than a reasonable fee for the services provided to the plan, a prudent fiduciary

must identify all fees, including direct and indirect compensation being paid to the service

provider.

       93.      Third, a plan fiduciary must remain informed about overall trends in the

marketplace regarding fees being paid by other plans, particularly comparably sized plans. This

will include monitoring the fees paid by similar plans, and also conducting an RFP bid process at

reasonable intervals to ensure the plan’s fees remain reasonable. A bidding process should take


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place periodically as a matter of course, and more frequently if the plan experiences an increase in

recordkeeping costs or if fee benchmarking reveals that the recordkeeper’s compensation exceeds

levels found in similar plans.

       94.      During the class period, Defendants knew or should have known that they must

regularly monitor the Plan’s RKA fees. Defendants knew or should have known that they must

regularly solicit competitive bids from service providers to avoid paying unreasonable fees for

RKA services.

       95.      Defendants failed to properly monitor, renegotiate, and minimize the Plan’s RKA

fees. Defendants did not engage in objectively reasonable or prudent efforts to ensure that the Plan

paid no more than competitive reasonable fees for RKA services.

       96.      Because Defendants failed to properly monitor the Plan’s RKA fees, the fees were

materially higher than they would have been had Defendants engaged in a prudent process.

       97.      The table above shows the Plan’s annual RKA fees on a per-participant basis. The

table illustrates that the Plan paid an average of $83 per participant per year. This amount is

materially higher than industry averages, as discussed above. Indeed, it is more than double what

other similarly situated plans receiving the same general basket of services paid. Participant loan

processing fees alone cannot account for this discrepancy. Indeed, many recordkeepers in recent

years have entirely waived any fees associated with loan processing. See Principal joins list of

record keepers cutting fees on loans, hardship withdrawals | Pensions & Investments

(pionline.com) (https://pionline.com//defined-contribution/principal-joins-list-record-keepers-

cutting-fees-loans-hardship-withdrawals)

       98.      Given the size of the Plan’s assets during the Class Period and the total number of

participants in addition to the general trend towards lower recordkeeping expenses in the




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marketplace as a whole, the Plan could have obtained RKA services that were comparable to or

superior to the typical services provided by the Plan’s recordkeeper at a lower cost.

       99.         Additionally, because Plan participants were paying more for RKA than they

should have as a result of the Plan fiduciaries’ conduct, this confirms that the use of higher-cost

share classes cannot be justified as a prudent means to pay RKA costs via revenue sharing.

       100.        Moreover, despite the amount of revenue sharing charged by the Plan, there is no

indication that the Plan’s fiduciaries returned the revenue sharing collected from the Plan’s

investments back to the Plan’s participants as they should have.

             (3)      There Was Little to No Change in Plan Investment Options for the
                      Entirety of the Class Period

       101.        Another indication of Defendants’ failure to prudently monitor the Plan’s funds is

that the Plan retained 11 mutual funds which have remained unchanged since 2013. As of 2018,

these 11 funds harbored more than 256 million dollars in participant assets. These 11 funds

remained as investment options since 2013 despite the fact that these funds charged grossly

excessive fees compared with identical, comparable and/or superior alternatives, and despite ample

evidence available to a reasonable fiduciary that the costs associated with these funds were

imprudently high. The following funds in the Plan stayed unchanged from 2013 to 2018:

                                                                  Years in      Assets Under
                        Fund in the Plan 2018
                                                                   Plan         Management
          T Rowe Price Retirement 2030 Fund ADV                 Since 2013       $54,265,870
         T Rowe Price Retirement 2040 Fund ADV                  Since 2013       $43,177,251
         T Rowe Price Retirement 2050 Fund ADV                  Since 2013       $29,574,060
                 PIMCO Total Return Fund                        Since 2013       $23,436,438
                 Principal MidCap Fund R5                       Since 2013       $12,950,524
         T Rowe Price Retirement 2010 Fund ADV                  Since 2013        $5,026,186
           JPMorgan Small Cap Growth Fund R5                    Since 2013       $18,722,383
           Franklin Rising Dividends Fund ADV                   Since 2013       $11,637,069
         T Rowe Price Retirement 2060 Fund ADV                  Since 2013        $1,274,704
         Victory Sycamore Established Value Fund I              Since 2013       $15,999,513
                                                   27
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                                                                 Years in     Assets Under
                     Fund in the Plan 2018
                                                                   Plan       Management
           State St S&P 500 Indx Sec Lending VII                Since 2013     $30,198,608
           STATE ST S&P MD CP IDX NL F (G)                      Since 2013      $3,769,265
             BlackRock Global Allocation lnstl                  Since 2013      $6,632,271
                                                                     Total:   $256,664,142

       102.     Out of the 23 funds in the Plan in 2018, 11 of them, or 47%, remained unchanged

since 2013. Failure to remove or change imprudent funds to less expensive share classes or cheaper

cost structures over the course of several years is a clear indication that Defendants were not

monitoring the Plan’s funds as they should have been.

              (4)   Many of the Plan’s Funds had Investment Management Fees In
                    Excess of Fees for Funds in Similarly-Sized Plans

       103.     Another indication of Defendants’ failure to prudently monitor the Plan’s funds is

that several of the mutual funds during the Class Period were more expensive than comparable

funds found in similarly sized plans (plans having between 250 million and 500 million in assets).

By the end of 2018, the Plan had $455,880,455 in assets.

       104.     In 2018, all 18 of the mutual funds in the Plan were more expensive than

comparable mutual funds found in similarly sized plans. And, as discussed above, 11 of these

funds remained unchanged since 2013. The expense ratios for funds in the Plan in some cases

were up to 171% (in the case of T. Rowe Price Retirement 2040 Advisor) and up to 102% (in the

case of JPMorgan Small Cap Growth I) above the median expense ratios in the same category: 13

                                        ICI Median Chart
                                                     2021
                                                                    Investment       ICI
                      Current Fund                   Exp
                                                                       Style        Median
                                                    Ratio
        T. Rowe Price Retirement 2030 Advisor           0.90%       Target-date     0.35%

13
   See BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2017
at 55 (August 2020) (hereafter, “ICI Study”) available at
https://www.ici.org/pdf/20_ppr_dcplan_profile_401k.pdf

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                                        ICI Median Chart
                                                     2021
                                                                  Investment       ICI
                      Current Fund                   Exp
                                                                     Style        Median
                                                    Ratio
         T. Rowe Price Retirement 2040 Advisor         0.95%      Target-date     0.35%
         T. Rowe Price Retirement 2020 Advisor         0.83%      Target-date     0.35%
                 Fidelity Blue Chip Growth             0.80%    Domestic equity   0.49%
         T. Rowe Price Retirement 2050 Advisor         0.96%      Target-date     0.35%
                PIMCO Total Return Admin               0.96%    Domestic Bond     0.44%
               JPMorgan Small Cap Growth I             0.99%    Domestic equity   0.49%
                                                                 International
        Invesco Oppenheimer International Gr Y         0.85%                      0.55%
                                                                    Equity
                    Hartford MidCap Y                  0.79%    Domestic equity   0.49%
                   Invesco Comstock Y                  0.56%    Domestic equity   0.49%
          Victory Sycamore Established Value I         0.60%    Domestic equity   0.49%
                   Principal MidCap RS                 0.85%    Domestic equity   0.49%
               Franklin Rising Dividends Adv           0.62%    Domestic equity   0.49%
              Deutsch Small Cap Core Fund - S          0.89%    Domestic equity   0.49%
        T. Rowe Price Retirement Balanced Adv          0.75%      Target-date     0.35%
                                                                Non-target date
            BlackRock Global Allocation lnstl          0.80%                      0.35%
                                                                  Balanced
         T. Rowe Price Retirement 2010 Advisor         0.77%     Target-date      0.35%
         T. Rowe Price Retirement 2060 Advisor         0.96%      Target-date     0.35%

       105.     The high cost of the Plan’s funds is even more stark when comparing the Plan’s

funds to the average fees of funds in similarly-sized plans:

                                   ICI Average Chart
                                                2021
                                                                 Investment         ICI
                      Current Fund              Exp
                                                                    Style         Average
                                                Ratio
         T. Rowe Price Retirement 2030 Advisor         0.90%      Target-date     0.38%
         T. Rowe Price Retirement 2040 Advisor         0.95%      Target-date     0.38%
         T. Rowe Price Retirement 2020 Advisor         0.83%      Target-date     0.38%

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                                   ICI Average Chart
                                                2021
                                                                  Investment        ICI
                      Current Fund              Exp
                                                                     Style        Average
                                                Ratio
                 Fidelity Blue Chip Growth            0.80%     Domestic equity    0.44%
        T. Rowe Price Retirement 2050 Advisor         0.96%       Target-date      0.38%
                PIMCO Total Return Admin              0.96%     Domestic Bond      0.35%

               JPMorgan Small Cap Growth I            0.99%     Domestic equity    0.44%
                                                                 International
        Invesco Oppenheimer International Gr Y        0.85%                        0.60%
                                                                    Equity
                    Hartford MidCap Y                 0.79%     Domestic equity    0.44%
                   Invesco Comstock Y                 0.56%     Domestic equity    0.38%

         Victory Sycamore Established Value I         0.60%     Domestic equity    0.38%

                   Principal MidCap RS                0.85%     Domestic equity    0.38%
               Franklin Rising Dividends Adv          0.62%     Domestic equity    0.38%
              Deutsch Small Cap Core Fund - S         0.89%     Domestic equity    0.38%
        T. Rowe Price Retirement Balanced Adv         0.75%       Target-date      0.38%
                                                                Non-target date
           BlackRock Global Allocation lnstl          0.80%                        0.42%
                                                                  Balanced
        T. Rowe Price Retirement 2010 Advisor         0.77%       Target-date      0.38%
        T. Rowe Price Retirement 2060 Advisor         0.96%       Target-date      0.38%

       106.     Although a good gauge of Defendants’ imprudence, median-based and average-

based comparisons still understate the excessiveness of the investment management fees of the

Plan funds because many prudent alternative funds were available (which Defendants failed to

consider) that offered lower expenses than the median and average fees.

       107.     The above comparisons understate the excessiveness of fees in the Plan throughout

the Class Period. That is because the ICI Median fee is based on a study conducted in 2017 when

expense ratios would have been higher than today given the downward trend of expense ratios the

last few years. Indeed, the ICI median expense ratio for target date funds for plans with between


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250 million dollars and 500 million dollars in assets was .58 using 2016 data14 compared with

.35% in 2017. Accordingly, the median expense ratios in 2021 utilized by similar plans would be

lower than indicated above, demonstrating a greater disparity between the 2021 expense ratios

utilized in the above chart for the Plan’s current funds and the median expense ratios in the same

category.

            (5)      Several of the Plan’s Funds Were Not in the Lowest Fee Share Class
                     Available to the Plan

        108.      Another fiduciary breach stemming from Defendants’ flawed investment

monitoring system resulted in the failure to identify available lower-cost share classes of many of

the funds in the Plan during the Class Period.

        109.      Many mutual funds offer multiple classes of shares in a single mutual fund that are

targeted at different investors. There is no difference between share classes other than cost—the

funds hold identical investments and have the same manager. Because the institutional share

classes are otherwise identical to the Investor share classes, but with lower fees, a prudent fiduciary

would know immediately that a switch is necessary. Tibble, 2017 WL 3523737, at * 13.

        110.      Generally, more expensive share classes are targeted at smaller investors with less

bargaining power, while lower cost shares are targeted at institutional investors with more assets.

Qualifying for lower share classes usually requires only a minimum of a million dollars for

individual funds. However, it is common knowledge that investment minimums are often waived

for large plans like the Plan. Sweda v. Univ. of Pennsylvania, 923 F.3d 320, 329 (3d Cir. 2019)

(citing Tibble II, 729 F.3d at 1137 n.24).

        111.      Here, 15 of the 18 mutual funds in the Plan in 2018 or more than 83% of the funds

in the Plan in 2018 were not in the lowest share class and, as discussed above, 9 of these funds



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  See BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2016 at 62 (June 2019)
(hereafter, “2016 ICI Study”) available at https://www.ici.org/pdf/19_ppr_dcplan_profile_401k.pdf.
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have remained unchanged since 2013. In 2018, the total assets under management for these funds

was more than 314 million dollars thus easily qualifying them for lower share classes. The

following is a list of these funds and their assets under management as of the end of 2018:

                                                                       2018 Assets
                               Fund in the Plan                          Under
                                                                       Management
                  T Rowe Price Retirement 2030 Fund ADV               $54,265,870.00
                  T Rowe Price Retirement 2040 Fund ADV               $43,177,251.00
                  T Rowe Price Retirement 2050 Fund ADV               $29,574,060.00
                       PIMCO Total Return Fund; Admin                 $23,436,438.00
                        Fidelity Blue Chip Growth Fund                $36,190,864.00
                    Invesco Oppen International Growth Y              $17,758,437.00
                          Principal MidCap Fund R5                    $12,950,524.00
                  T Rowe Price Retirement 2010 Fund ADV               $5,026,186.00
                    JPMorgan Small Cap Growth Fund R5                 $18,722,383.00
                          Invesco Comstock Fund Y                     $17,340,265.00
                    Franklin Rising Dividends Fund ADV                $11,637,069.00
                          Hartford MidCap Fund Y                      $17,634,303.00

                  T Rowe Price Retirement 2060 Fund ADV               $1,274,704.00

                        DWS Small Cap Core Fund S                     $9,499,673.00

                 Victory Sycamore Established Value Fund I            $15,999,513.00
                                                           Total:    $314,487,540.00

       112.    In several instances during the Class Period, Defendants failed to prudently monitor

the Plan to determine whether the Plan was invested in the lowest-cost share class available for the

Plan’s mutual funds.

       113.    The below chart uses 2021 expense ratios to demonstrate cost differentials between

the applicable mutual funds and the cheaper identical shares:



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                                                                            Less
                                              Less Expensive Share                      Excess
        Fund in the Plan            ER                                    Expensive
                                                     Class                               Cost
                                                                             ER
     T Rowe Price Retirement                 T Rowe Price Retirement
                                   0.90%                                    0.49%        84%
         2030 Fund ADV                              2030 Fund I
     T Rowe Price Retirement                 T Rowe Price Retirement
                                   0.95%                                    0.51%        86%
         2040 Fund ADV                              2040 Fund I
     T Rowe Price Retirement                 T Rowe Price Retirement
                                   0.96%                                    0.52%        85%
         2050 Fund ADV                              2050 Fund I
   PIMCO Total Return Fund;                    PIMCO Total Return
                                   0.96%                                    0.71%        35%
              Admin                                    Fund I
    Fidelity Blue Chip Growth                    Fidelity Blue Chip
                                   0.80%                                    0.70%        14%
               Fund                               Growth Fund K
   Invesco Oppen International                     Invesco Oppen
                                   0.85%                                    0.69%        23%
             Growth Y                         International Growth R
   Principal MidCap Fund R5        0.85%    Principal MidCap Fund I         0.69%        23%
    T Rowe Price Retirement                 T Rowe Price Retirement
                                   0.77%                                    0.37%        108%
       2010 Fund ADV                               2010 Fund I
  JPMorgan Small Cap Growth                    JPMorgan Small Cap
                                   0.84%                                    0.74%        14%
           Fund R5                                 Growth R6
                                             Invesco Comstock Fund
   Invesco Comstock Fund Y         0.49%                                    0.40%        23%
                                                       R6
    Franklin Rising Dividends               Franklin Rising Dividends
                                   0.62%                                    0.53%        17%
           Fund ADV                           Fund Class R6 Shares
    Hartford MidCap Fund Y         0.79%    Hartford MidCap Fund R6         0.75%         5%
    T Rowe Price Retirement                  T Rowe Price Retirement
                                   0.96%                                    0.52%        85%
       2060 Fund ADV                                2060 I
  DWS Small Cap Core Fund S 0.89%             DWS Small Cap Core I          0.84%         6%
  Victory Sycamore Established                   Victory Sycamore
                               0.60%                                        0.58%         3%
          Value Fund I                         Established Value R6

       114.    The above is for illustrative purposes only. At all times during the Class Period,

Defendants knew or should have known of the existence of cheaper share classes and therefore

also should have immediately identified the prudence of transferring the Plan’s funds into these

alternative investments.

       115.    There is no good-faith explanation for utilizing high-cost share classes when lower-

cost share classes are available for the exact same investment. Because the more expensive share

classes chosen by Defendants were the same in every respect other than price to their less
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expensive counterparts, the more expensive share class funds could not have (1) a potential for

higher return, (2) lower financial risk, (3) more services offered, (4) or greater management

flexibility. In short, the Plan did not receive any additional services or benefits based on its use of

more expensive share classes; the only consequence was higher costs for Plan participants.

       116.    In other words, given the size of the Plan, Defendants made investments with higher

costs (higher expense ratios) available to participants while the same investments with lower costs

(lower expense ratios) were available to the detriment of the compounding returns that participants

should have received. This reduced the likelihood that Plan participants would achieve their

preferred lifestyle in retirement.

                                 FIRST CLAIM FOR RELIEF
                             Breaches of Fiduciary Duty of Prudence
                                (Asserted against the Committee)

       117.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       118.    At all relevant times, the Committee Defendants and its members (“Prudence

Defendants”) were fiduciaries of the Plan within the meaning of ERISA § 3(21)(A), 29 U.S.C. §

1002(21)(A), in that they exercised discretionary authority or control over the administration

and/or management of the Plan or disposition of the Plan’s assets.

       119.    As fiduciaries of the Plan, these Defendants were subject to the fiduciary duties

imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing the

assets of the Plan for the sole and exclusive benefit of the Plan’s participants and beneficiaries,

and acting with the care, skill, diligence, and prudence under the circumstances that a prudent

person acting in a like capacity and familiar with such matters would use in the conduct of an

enterprise of like character and with like aims.




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        120.    The Prudence Defendants breached these fiduciary duties in multiple respects as

discussed throughout this Complaint. They did not make decisions regarding the Plan’s investment

lineup based solely on the merits of each investment and what was in the best interest of the Plan’s

participants. Instead, the Prudence Defendants selected and retained investment options in the

Plan despite the high cost of the funds in relation to other comparable investments. The Prudence

Defendants also failed to control the administrative and recordkeeping expenses of the Plan and to

investigate the availability of lower-cost identical products of certain mutual funds in the Plan.

        121.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plan suffered millions of dollars of losses due to excessive costs and lower net investment

returns. Had Defendants complied with their fiduciary obligations, the Plan would not have

suffered these losses, and the Plan’s participants would have had more money available to them

for their retirement.

        122.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Prudence Defendants are

liable to restore to the Plan all losses caused by their breaches of fiduciary duties, and also must

restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable

relief and other appropriate relief for Defendants’ breaches as set forth in their Prayer for Relief.

        123.    The Prudence Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to commit

breaches by failing to lawfully discharge such Defendant’s own duties, and knew of the breaches

by the other Defendants and failed to make any reasonable and timely effort under the

circumstances to remedy the breaches. Accordingly, each Defendant is also liable for the breaches

of its co-fiduciaries under 29 U.S.C. § 1105(a).


                                SECOND CLAIM FOR RELIEF
                        Failure to Adequately Monitor Other Fiduciaries
                               (Asserted against United Surgical)

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        124.     Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

        125.     United Surgical (the “Monitoring Defendant”) had the authority and obligation to

monitor the Committee and was aware that the Committee had critical responsibilities as a

fiduciary of the Plan.

        126.     In light of this authority, the Monitoring Defendant had a duty to monitor the

Committee and ensure that the Committee was adequately performing its fiduciary obligations,

and to take prompt and effective action to protect the Plan in the event that the Committee was not

fulfilling those duties.

        127.     The Monitoring Defendant also had a duty to ensure that the Committee possessed

the needed qualifications and experience to carry out its duties; had adequate financial resources

and information; maintained adequate records of the information on which it based its decisions

and analysis with respect to the Plan’s investments; and reported regularly to the Monitoring

Defendants.

        128.     The Monitoring Defendant breached its fiduciary monitoring duties by, among

other things:

                (a)        Failing to monitor and evaluate the performance of the Committee

       or have a system in place for doing so, standing idly by as the Plan suffered

       significant losses as a result of the Committee’s imprudent actions and omissions;

                (b)        failing to monitor the processes by which the Plan’s investments

       were evaluated and the Committee’s failure to investigate the availability of

       identical lower-cost funds; and

                (c)        failing to remove the Committee as a fiduciary whose performance

       was inadequate in that it continued to maintain imprudent, excessively costly, and

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       poorly performing investments within the Plan, and caused the Plan to pay excessive

       recordkeeping fees, all to the detriment of the Plan and the retirement savings of the

       Plan’s participants.

        129.    As a consequence of the foregoing breaches of the duty to monitor, the Plan

suffered millions of dollars of losses. Had Monitoring Defendant complied with their fiduciary

obligations, the Plan would not have suffered these losses, and participants of the Plan would have

had more money available to them for their retirement.

        130.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Monitoring Defendant is

liable to restore to the Plan all losses caused by their failure to adequately monitor the Committee.

In addition, Plaintiffs are entitled to equitable relief and other appropriate relief as set forth in their

Prayer for Relief.

                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all claims

and requests that the Court awards the following relief:

               A.       A determination that this action may proceed as a class action

        under Rule 23(b)(1), or in the alternative, Rule 23(b)(2) of the Federal Rules of

        Civil Procedure;

               B.       Designation of Plaintiffs as Class Representatives and designation

        of Plaintiffs’ counsel as Class Counsel;

               C.       A Declaration that the Defendants, and each of them, have

        breached their fiduciary duties under ERISA;

               D.       An Order compelling the Defendants to make good to the Plan all

        losses to the Plan resulting from Defendants’ breaches of their fiduciary duties,

        including losses to the Plan resulting from imprudent investment of the Plan’s


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       assets, and to restore to the Plan all profits the Defendants made through use of

       the Plan’s assets, and to restore to the Plan all profits which the participants would

       have made if the Defendants had fulfilled their fiduciary obligations;

             E.        An order requiring the Company Defendants to disgorge all profits

       received from, or in respect of, the Plan, and/or equitable relief pursuant to 29

       U.S.C. § 1132(a)(3) in the form of an accounting for profits, imposition of a

       constructive trust, or a surcharge against the Company Defendant as necessary to

       effectuate said relief, and to prevent the Company Defendant’s unjust enrichment;

             F.        Actual damages in the amount of any losses the Plan suffered, to

       be allocated among the participants’ individual accounts in proportion to the

       accounts’ losses;

             G.        An order enjoining Defendants from any further violations of their

       ERISA fiduciary responsibilities, obligations, and duties;

             H.        Other equitable relief to redress Defendants’ illegal practices and

       to enforce the provisions of ERISA as may be appropriate, including appointment

       of an independent fiduciary or fiduciaries to run the Plan and removal of Plan’s

       fiduciaries deemed to have breached their fiduciary duties;

             I.        An award of pre-judgment interest;

             J.        An award of costs pursuant to 29 U.S.C. § 1132(g);

             K.        An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and

       the common fund doctrine; and

             L.        Such other and further relief as the Court deems equitable and just.



Date: April 15, 2022                          THE LAW OFFICES OF DAN E. MARTENS


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